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 7
 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    CONSTRUCTION LABORERS                 CASE NO.:
      TRUST FUNDS FOR SOUTHERN
12    CALIFORNIA
      ADMINISTRATIVE COMPANY, a
13    Delaware limited liability company,   COMPLAINT FOR:
14                    Plaintiff,            1. MONETARY DAMAGES DUE TO
                                               EMPLOYEE BENEFIT PLANS
15              v.
                                            2. MONETARY DAMAGES
16    CUSTOM SPRAY SYSTEMS,                    THROUGH ENFORCEMENT OF
      INC. a California corporation;           WESCO INSURANCE COMPANY
17    WESCO INSURANCE                          LICENSE BOND
      COMPANY, a Delaware
18    corporation; THE NORTH RIVER          3. MONETARY DAMAGES
      INSURANCE COMPANY, a New                 THROUGH ENFORCEMENT OF
19    Jersey Corporation,                      THE NORTH RIVER
                                               INSURANCE COMPANY
20                                             LICENSE BOND
                     Defendants.
21                                          4. SPECIFIC PERFORMANCE OF
                                               OBLIGATION TO PRODUCE
22                                             RECORDS FOR AUDIT
23                                          5. INJUNCTIVE RELIEF
24                                             COMPELLING SUBMISSION OF
                                               FRINGE BENEFIT
25                                             CONTRIBUTIONS TO
                                               EMPLOYEE BENEFIT PLANS
26                                          [29 U.S.C. §§ 185, 1132(a)(3),
27                                          1132(g)(2) and 1145; 28 U.S.C.
                                            § 1367(a)]
28

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 1              Plaintiff, Construction Laborers Trust Funds for Southern California
 2    Administrative Company, a Delaware limited liability company, alleges:
 3
 4                                 JURISDICTION AND VENUE
 5
 6              1.    This action is brought by a fiduciary administrator on behalf of
 7    employee benefit plans against an employer and two of its license bond sureties. It
 8    is brought to: enforce of the terms of collective bargaining agreements and plan trust
 9    agreements to recover fringe benefit contributions and related damages due by the
10    employer on behalf of its employees (Claim 1); enforce claims against two license
11    bonds issued to the employer, each covering a portion of the amount due (Claims 2
12    and 3); compel the employer to produce records for audit to determine if additional
13    amounts are due (Claim 4); and compel the employer to timely and fully report and
14    pay monthly fringe benefit contributions on behalf of its employees (Claim 5). This
15    Court has jurisdiction over Claims 1, 4 and 5 pursuant to sections 502(a)(3),
16    502(g)(2) and 515 of the Employee Retirement Income Security Act (ERISA),
17    29 U.S.C. §§ 1132(a)(3), 1132(g)(2) and 1145; and section 301 of the Labor
18    Management Relations Act (LMRA), 29 U.S.C. § 185. This Court has supplemental
19    jurisdiction over Claims 2 and 3 pursuant to 28 U.S.C. § 1367(a). Pursuant to
20    ERISA section 502(e)(2), 29 U.S.C. § 1132(e)(2), venue is proper in this district for
21    each of the following reasons: the plans are administered in this district; the
22    employer's performance and breach took place in this district; and the employer
23    resides or may be found in this district.
24
25                                             PARTIES
26
27              2.    Plaintiff ("Adminco") is an administrator of, agent for collection for, a
28    fiduciary to, and brings this action on behalf of the following employee benefit

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 1    plans: Laborers Health and Welfare Trust Fund for Southern California;
 2    Construction Laborers Pension Trust for Southern California; Laborers Annuity Plan
 3    for Southern California; Construction Laborers Vacation Trust for Southern
 4    California; Laborers Training and Re-Training Trust Fund for Southern California;
 5    Fund for Construction Industry Advancement; Center for Contract Compliance;
 6    Laborers Contract Administration Trust Fund for Southern California; Laborers'
 7    Trusts Administrative Trust Fund for Southern California; Southern California
 8    Partnership for Jobs Trust Fund; Plaster Tenders Apprenticeship and Training Trust
 9    Fund for Southern California; and Plastering Trades Administrative Trust
10    (collectively "Trust Funds"). The Trust Funds are express trusts created by written
11    agreements; employee benefit plans within the meaning of ERISA section 3(3),
12    29 U.S.C. § 1002(3); and multi-employer plans within the meaning of ERISA
13    section 3(37)(A), 29 U.S.C. § 1002(37)(A). The Trust Funds exist pursuant to
14    ERISA and LMRA section 302, 29 U.S.C. § 186. Adminco and the Trust Funds'
15    principal places of business are in the County of Los Angeles, State of California.
16
17              3.   Adminco is informed and believes, and on that basis alleges, that
18    defendant Custom Spray Systems, Inc. (“Employer”) is a corporation organized and
19    existing under the laws of the State of California; has a principal place of business in
20    the City of Modesto, County of Stanislaus, State of California; and does, or at all
21    relevant times did, business in the State of California as a construction contractor in
22    an industry affecting interstate commerce.
23
24              4.   Adminco is informed and believes, and on that basis alleges, that
25    defendant Wesco Insurance Company ("First License Bond Surety") is a corporation
26    organized and existing under the laws of the State of Delaware; is licensed and
27    authorized to perform and transact a surety in the State of California; and has its
28    principal place of business in the City of New York, State of New York.

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 1              5.   Adminco is informed and believes, and on that basis alleges, that
 2    defendant The North River Insurance Company ("Second License Bond Surety") is a
 3    corporation organized and existing under the laws of the State of New Jersey; is
 4    licensed and authorized to perform and transact a surety in the State of California;
 5    and has its principal place of business in the City of Morristown, State of New
 6    Jersey.
 7
 8                             AGREEMENTS; LICENSE BONDS
 9
10              6.   The Employer is, and was at all times during which the events giving
11    rise to the liabilities alleged in this complaint occurred (including at all times since at
12    least December 2002), bound to certain collective bargaining agreements of the
13    Southern California District Council of Laborers and its affiliated local Unions
14    (collectively "Laborers Union") known as the Construction Master Labor
15    Agreements, including ones known as the Southern California Master Labor
16    Agreement and the Plaster Tenders’ Master Agreement.
17
18              7.   Pursuant to the Construction Master Labor Agreements, employers
19    become – and the Employer became and is – bound to the terms and conditions of
20    the various trust agreements that created each of the Trust Funds ("Trust
21    Agreements"). When referenced collectively hereinafter, the Construction Master
22    Labor Agreements and Trust Agreements are referred to as "the Agreements."
23
24              8.   Under the terms of the Agreements, employers, including the Employer,
25    are required to submit monthly fringe benefit contributions ("Monthly
26    Contributions") to the Trust Funds for all hours worked by (or paid to) their
27    employees who perform work covered by the Agreements ("Covered Work").
28

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 1              9.    Under the terms of the Agreements, employers, including the Employer,
 2    are required to submit to the Trust Funds, with their Monthly Contributions, monthly
 3    reports, itemized by project, listing the names of their employees who performed
 4    Covered Work, their Social Security numbers, the hours of work performed by (or
 5    paid for) each, and the resulting Monthly Contributions due for them ("Monthly
 6    Reports"). The Trust Funds rely on Monthly Reports – and the accuracy of those
 7    reports – to determine the amount of Monthly Contributions due to the Trust Funds
 8    by employers and the credit toward fringe benefits to be allocated to their
 9    employees.
10
11              10.   The Agreements provide for the payment of interest on delinquent
12    Monthly Contributions from the date due at a rate set by the trustees of the Trust
13    Funds. The trustees have set that rate at five percent (5%) above the prime rate set
14    by the Federal Reserve Board of San Francisco, California. The Agreements also
15    provide for the payment of liquidated damages for each month of delinquent
16    Monthly Contributions or Monthly Reports, for each Trust Fund separately, in the
17    amount of twenty percent (20%) of the delinquent Monthly Contributions due to the
18    Trust Fund or $25, whichever is greater (except with respect to the Laborers
19    Contract Administration Trust Fund for Southern California, which assesses
20    liquidated damages at the greater of $20 or ten percent (10%)). In addition,
21    employers are required to pay fees for the submission of dishonored checks.
22
23              11.   The failure of employers to pay Monthly Contributions when due causes
24    damages to the Trust Funds and its participants beyond the value of the unpaid
25    Monthly Contributions, which are difficult to quantify. Apart from the fees and
26    costs incurred in litigation, the harm caused includes, but is not limited to, the
27    administrative costs of processing and collecting delinquencies, the costs of
28    adjusting benefit credits and notifying participants, the additional burden placed on

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 1    contractors who faithfully pay their contributions, and the burden upon participants
 2    and beneficiaries who may be unable to qualify for benefits they may have otherwise
 3    been entitled to had it not been for the delinquency of their employer. The liquidated
 4    damages provision of the Agreements was meant to compensate for the loss to the
 5    Trust Funds, which is incurred even if the Monthly Contributions for a given month
 6    are later paid. It is based on the Trust Funds' ratio of collection costs over amounts
 7    collected, which are regularly reported to the Trust Funds' trustees.
 8
 9              12.   Under the terms of the Agreements, employers, including the Employer,
10    agree to subcontract Covered Work only to entities that are signatory to a
11    Construction Master Labor Agreement applicable to the work performed. If an
12    employer subcontracts Covered Work to a non-signatory entity, the employer
13    becomes liable to the Trust Funds in an amount equal to the Monthly Contribution s
14    that would have been due if the entity had been signatory (plus interest, liquidated
15    damages and audit fees thereon).
16
17              13.   Under the terms of the Agreements, employers, including the Employer,
18    agree not to subcontract Covered Work to entities that are delinquent to the Trust
19    Funds. If an employer subcontracts Covered Work to such an entity the employer
20    becomes under the terms of the Agreements liable to the Trust Funds for the
21    Monthly Contributions due by the subcontractor and any lower-tier subcontractors.
22
23              14.   The Agreements provide the Trust Funds with specific authority to
24    examine the payroll and business records of employers, including the Employer, to
25    determine whether they have reported all hours worked by (or paid for) their
26    employees who perform Covered Work, and whether they have paid the appropriate
27    Monthly Contributions and other amounts due by them to the Trust Funds. The
28    Agreements further provide that employers, including the Employer, must maintain

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 1              15.   records sufficient for the Trust Funds to verify proper Monthly
 2    Reporting, and, where there has been inaccurate Monthly Reporting, to determine
 3    the additional amounts due, and that the employer must pay the Trust Funds' audit
 4    fees if it is delinquent to the Trust Funds. The Trust Funds have delegated the
 5    authority to perform such audits to Adminco.
 6
 7              16.   The Agreements require employers to pay the Trust Funds' attorneys’
 8    fees and costs of litigation to enforce the Agreements' foregoing terms, including the
 9    Monthly Contribution, Monthly Reporting, subcontracting and audit provisions.
10
11              17.   Adminco is informed and believes, and on that basis alleges, that in
12    order to adhere to California Business and Professions Code § 7071.6(a), the
13    Employer obtained a license bond from the First License Bond Surety in the penal
14    sum required by law and filed it with the Registrar of the California State
15    Contractors License Board. The bond referenced in this paragraph is referred to
16    hereinafter as the "First License Bond." Adminco is informed and believes, and on
17    that basis alleges, that the First License Bond covered the period January 1, 2016
18    through September 15, 2021.
19
20              18. Adminco is informed and believes, and on that basis alleges, that in
21    order to adhere to California Business and Professions Code § 7071.6(a), the
22    Employer obtained a license bond from the Second License Bond Surety in the penal
23    sum required by law and filed it with the Registrar of the California State
24    Contractors License Board. The bond referenced in this paragraph is referred to
25    hereinafter as the "Second License Bond." Adminco is informed and believes, and
26    on that basis alleges, that the Second License Bond became effective September 15,
27    2021 and remains in effect, covering all times after September 14, 2021.
28

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 1                                  FIRST CLAIM FOR RELIEF
 2     Against the Employer for Monetary Damages Due to Employee Benefit Plans
 3                             [29 U.S.C. §§ 185, 1132(g)(2) and 1145]
 4
 5              19.   Adminco repeats, realleges and incorporates by reference each and every
 6    allegation contained in paragraphs 1 through 17 above as if fully set forth here.
 7
 8              20.   The Employer has failed to timely submit Monthly Contributions due by
 9    it to the Trust Funds. Pursuant to the Agreements and ERISA sections 502(g)(2) and
10    515, 29 U.S.C. §§ 1132(g)(2) and 1145, the Employer owes the Trust Funds a
11    known amount of $158,983.80 for unpaid or late-paid Monthly Contributions and
12    related damages (and/or late-submitted Monthly Reports) for certain of the months
13    of December 2013 through September 2021 (“Known Delinquency”). The Known
14    Delinquency consists of: $83,674.02 in unpaid Monthly Contributions; $27,564.83
15    in interest (through December 23, 2021); $44,624.95 in liquidated damages; and
16    $3,120.00 in audit fees.
17
18              21.   Adminco will establish by proof at the time of trial or through
19    dispositive motion the Known Delinquency and any additional amounts determined
20    to be due to the Trust Funds by the Employer, including any additional Monthly
21    Contributions, interest, liquidated damages, audit fees, fees for the submission of
22    checks not honored by the bank upon which they were drawn, attorneys’ fees and
23    costs, and amounts owed as a result of work performed by subcontractors of the
24    Employer (or lower-tier subcontractors). If deemed necessary by the Court,
25    Adminco will amend its complaint to add any additional amounts determined to be
26    due. Any and all conditions to the Employer’s obligations under the Agreements to
27    pay the Known Delinquency and any additional amounts due under the Agreements
28    to the Trust Funds have been met.

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 1              22.     A portion of the Known Delinquency for certain months from December
 2    2013 through December 2016 was discovered to be due through an audit of the
 3    Employer conducted by Adminco on March 15, 2017.
 4
 5              23.     Under the terms of the Agreements and ERISA section 502(g)(2)(D),
 6    29 U.S.C. § 1132(g)(2)(D), Adminco is entitled to an award of its attorneys’ fees and
 7    costs.
 8
 9                                  SECOND CLAIM FOR RELIEF
10                    Against the First License Bond Surety for Monetary Damages
11                            Through Enforcement of First License Bond
12                      [28 U.S.C. § 1367(a); Cal. Bus & Prof. Code § 7071.11(d)]
13
14              24.     Adminco repeats, realleges and incorporates by reference each and every
15    allegation contained in paragraphs 1 through 22 above as if fully set forth here.
16
17              25.     The Trust Funds are "Laborers" under California Civil Code ("Civil
18    Code") § 8024(b). As such, they are beneficiaries of the First License Bond under
19    California Business and Professions Code ("Business and Professions Code")
20    § 7071.5(e).
21
22              26.     Adminco submitted a claim against the First License Bond for Monthly
23    Contributions due by the Employer to the Trust Funds ("First License Bond Claim").
24    Pursuant to Business and Professions Code §§ 7071.5(e) and 7071.11(a), and, upon
25    information and belief, the terms of the First License Bond, the First License Bond
26    Surety is required to pay the Trust Funds up to the penal sum of the First License
27    Bond for the failure of its principal, the Employer, to remit Monthly Contributions to
28    the Trust Funds.

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 1              27.   The First License Bond Surety has not paid the First License Bond
 2    Claim as required by the above-referenced statutes, and, upon information and
 3    belief, the terms of the First License Bond.
 4
 5              28.   Adminco brings this claim for relief on behalf of the Trust Funds under
 6    Business and Professions Code § 7071.11(d) to enforce the terms of the First License
 7    Bond to recover a portion of the amount due by the Employer to the Trust Funds (up
 8    to the penal sum of the First License Bond).
 9
10                                 THIRD CLAIM FOR RELIEF
11                Against the Second License Bond Surety for Monetary Damages
12                         Through Enforcement of Second License Bond
13                    [28 U.S.C. § 1367(a); Cal. Bus & Prof. Code § 7071.11(d)]
14
15              29.   Adminco repeats, realleges and incorporates by reference each and every
16    allegation contained in paragraphs 1 through 27 above as if fully set forth here.
17
18              30.   The Trust Funds are "Laborers" under California Civil Code ("Civil
19    Code") § 8024(b). As such, they are beneficiaries of the Second License Bond under
20    California Business and Professions Code ("Business and Professions Code")
21    § 7071.5(e).
22
23              31.   Adminco submitted a claim against the Second License Bond for
24    Monthly Contributions due by the Employer to the Trust Funds ("Second License
25    Bond Claim"). Pursuant to Business and Professions Code §§ 7071.5(e) and
26    7071.11(a), and, upon information and belief, the terms of the Second License Bond,
27    the Second License Bond Surety is required to pay the Trust Funds up to the penal
28    sum of the Second License Bond for the failure of its principal, the Employer, to

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 1    remit Monthly Contributions to the Trust Funds.
 2
 3              32.     The Second License Bond Surety has not paid the Second License Bond
 4    Claim as required by the above-referenced statutes, and, upon information and
 5    belief, the terms of the Second License Bond.
 6
 7              33.     Adminco brings this claim for relief on behalf of the Trust Funds under
 8    Business and Professions Code § 7071.11(d) to enforce the terms of the Second
 9    License Bond to recover a portion of the amount due by the Employer to the Trust
10    Funds (up to the penal sum of the Second License Bond).
11
12                                  FOURTH CLAIM FOR RELIEF
13                    Against the Employer for Specific Performance of Obligation
14                                    to Produce Records for Audit
15                             [29 U.S.C. §§ 1132(a)(3) and 1132(g)(2)(E)]
16
17              34.     Adminco repeats, realleges and incorporates by reference each and every
18    allegation contained in paragraphs 1 through 32 above as if fully set forth here.
19
20              35.     Adminco has requested that the Employer produce its books and records
21    for audit. The Employer has failed to fully produce its books and records. Adminco
22    requests that the Court exercise its authority under ERISA sections 502(a)(3) and
23    502(g)(2)(E), 29 U.S.C. §§ 1132(a)(3) and 1132(g)(2)(E) to order the Employer to
24    comply with its obligation under the Agreements and ERISA to fully produce its
25    books and records in order for Adminco to complete an audit to determine if
26    additional amounts are due.
27
28              36.     An award of attorneys’ fees and costs is provided for by Agreements and

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 1    under ERISA sections 502(g)(1) and/or 502(g)(2), 29 U.S.C. § 1132(g)(1) and/or
 2    1132(g)(2).
 3
 4                                 FIFTH CLAIM FOR RELIEF
 5              Against the Employer for Injunctive Relief Compelling Submission of
 6                    Fringe Benefit Contributions to Employee Benefit Plans
 7                           [29 U.S.C. §§ 1132(a)(3) and 1132(g)(2)(E)]
 8
 9              37.   Adminco repeats, realleges and incorporates by reference each and every
10    allegation contained in paragraphs 1 through 35 above as if fully set forth here.
11
12              38.   The Employer has repeatedly failed to timely submit Monthly Reports
13    and Monthly Contributions.
14
15              39.   By reason of the Employer’s failure to comply with its Monthly
16    Reporting and Contribution obligations, the Trust Funds, its participants and/or its
17    beneficiaries have suffered and will continue to suffer hardship and actual and
18    impending irreparable injury and damage for at least the following reasons. First,
19    the Trust Funds must provide credit each month to participants and beneficiaries,
20    including the Employer’s employees, toward eligibility for fringe benefits (such as
21    health insurance and pensions) based on the number of hours they worked, which is
22    determined from Monthly Reports. Second, the amount of benefits payable to all
23    participants and beneficiaries for health insurance and pension claims, including
24    those employed by the Employer, is actuarially determined on the basis of funds
25    projected to be received from contributing employers (including the Employer).
26    Third, health insurance is not provided to participants and beneficiaries, including
27    the Employer’s employees, after a certain period of non-payment of Monthly
28    Contributions on their behalf. Fourth, vacation pay, which is distributed by the

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 1    Construction Laborers Vacation Trust for Southern California (one of the Trust
 2    Funds), is not paid to employees, including the Employer’s employees, for hours of
 3    work for which their employer has not submitted Monthly Contributions. Fifth, the
 4    Trust Funds have a legal obligation to take steps to collect amounts due by
 5    delinquent employers and thus the Employer’s ongoing delinquency results in an
 6    ongoing drain on Trust Funds resources. And, in addition, the failure of the
 7    Employer to itemize its work by project undermines the Trust Funds’ ability to take
 8    steps to collect delinquent amounts through asserting project-specific claims, such as
 9    payment bond claims, stop payment notices and mechanics’ liens. Sixth, the Trust
10    Funds lose investment income on late-paid and unpaid Monthly Contributions.
11
12              40.   The Trust Funds have no adequate or speedy remedy at law. They
13    therefore request that this Court exercise its authority under ERISA sections
14    502(a)(3) and 502(g)(2)(E), 29 U.S.C. §§ 1132(a)(3) and 1132(g)(2)(E), to issue
15    preliminary and permanent injunctive relief ordering the Employer to comply with
16    its obligations under the Agreements and ERISA section 515, 29 U.S.C. § 1145, to
17    fully disclose its employees’ Covered Work on its Monthly Reports, itemized by
18    project, and timely submit them each month with full payment of the Monthly
19    Contributions due.
20
21              41.   An award of attorneys’ fees and costs is provided for by Agreements and
22    under ERISA sections 502(g)(1) and/or 502(g)(2), 29 U.S.C. § 1132(g)(1) and/or
23    1132(g)(2)).
24    ///
25    ///
26    ///
27    ///
28    ///

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 1              WHEREFORE, Adminco prays for judgment as follows:
 2
 3                        ON ADMINCO'S FIRST CLAIM FOR RELIEF
 4       [Against the Employer for Monetary Damages Due to Employee Benefit Plans]
 5
 6              A.   For $83,674.02 in unpaid Monthly Contributions, as required by the
 7    Agreements and 29 U.S.C. § 1132(g)(2)(A).
 8
 9              B.   For $27,564.83 in interest through December 23, 2021 on unpaid or late
10    paid Monthly Contributions at the rate of five percent above the variable prime rate
11    set by the Federal Reserve Board of San Francisco, California, plus such additional
12    interest that has or does hereafter accrue from December 23, 2021, as required by the
13    Agreements and 29 U.S.C. § 1132(g)(2)(B).
14
15              C.   For $44,624.95 in liquidated damages for unpaid and late-paid Monthly
16    Contributions at, for each of the Trust Funds separately, the greater of 20% or $25
17    (except with respect to the Laborers Contract Administration Trust Fund for
18    Southern California, for which liquidated damages are sought at the greater 10% or
19    $20), as required by the Agreements and 29 U.S.C. § 1132(g)(2)(C).
20
21              D.   For $3,120.00 in audit fees, as required by the Agreements and
22    29 U.S.C. § 1132(g)(2)(E).
23
24              E.   For, according to proof, any additional Monthly Contributions, interest,
25    liquidated damages, audit fees, insufficient funds check fees, and amounts owed as a
26    result work performed by any subcontractors of the Employer (or lower-tier
27    subcontractors) determined to be due, pursuant to the Agreements and 29 U.S.C.
28    §§ 1132(g)(2) and 1145.

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 1              F.   For reasonable attorneys’ fees and costs of suit, as required by the
 2    Agreements and 29 U.S.C. § 1132(g)(2)(D).
 3
 4              G.   For such other relief that this Court deems appropriate, pursuant to any
 5    authority of the Court, including but not limited to the authority established by
 6    29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3).
 7
 8                          ON ADMINCO'S SECOND CLAIM FOR RELIEF
 9                     [Against the First License Bond Surety for Monetary Damages
10                            Through Enforcement of the First License Bond]
11
12              A.   For enforcement of the First License Bond pursuant to California
13    Business and Professions Code §§ 7071.5(e) and 7071.11(a).
14
15              B.   For the penal sum of the First License Bond, plus interest at the rate or
16    rates required by law, including California Labor Code § 218.6, from the respective
17    days the Monthly Contributions providing the basis for the First License Bond Claim
18    became due.
19
20              C.   For reasonable attorneys’ fees and costs.
21
22              D.   For such other relief that this Court deems appropriate.
23
24                           ON ADMINCO'S THIRD CLAIM FOR RELIEF
25                   [Against the Second License Bond Surety for Monetary Damages
26                          Through Enforcement of the Second License Bond]
27
28              A.   For enforcement of the Second License Bond pursuant to California

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 1    Business and Professions Code §§ 7071.5(e) and 7071.11(a).
 2
 3              B.   For the penal sum of the Second License Bond, plus interest at the rate
 4    or rates required by law, including California Labor Code § 218.6, from the
 5    respective days the Monthly Contributions providing the basis for the Second
 6    License Bond Claim became due.
 7
 8              C.   For reasonable attorneys’ fees and costs.
 9
10              D.   For such other relief that this Court deems appropriate.
11
12                          ON ADMINCO’S FOURTH CLAIM FOR RELIEF
13                     [Against the Employer for Specific Performance of Obligation
14                                     to Produce Records for Audit]
15
16              A.   For the issuance of injunctive relief pursuant to the Agreements and
17    29 U.S.C. §§ 1132(g)(2)(E) and/or 1132(a)(3) ordering the Employer and its
18    managing officers, managing employees, agents and successors, as well as all those
19    in active concert or participation with any one or more of them, to submit to an audit
20    of the Employer’s records from at least January 1, 2017 through the date of the audit,
21    to fully cooperate with Adminco with respect to the audit in order for Adminco to
22    determine the total amount due to the Trust Funds by the Employer, and,
23    specifically, to produce to Adminco the following payroll and business records – and
24    any other records determined by Adminco to be necessary to conduct a full audit –
25    for inspection, examination and copying:
26
27                   A.1. All of the Employer’s payroll and employee records, as well as
28    any other records that might be relevant to a determination of the work performed by

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 1    the Employer, its employees, its subcontractors, its lower-tier subcontractors and the
 2    employees of the Employer’s subcontractors and lower-tier subcontractors, including
 3    but not limited to payroll journals, employee earnings records, certified payroll
 4    records, payroll check books and stubs, cancelled payroll checks, payroll time cards
 5    and state and federal tax returns (and all other state and federal tax records), as well
 6    as labor distribution journals and any other records that might be relevant to an
 7    identification of the employees who performed work for the Employer, its
 8    subcontractors or lower-tier subcontractors, or which might be relevant to a
 9    determination of the projects on which the Employer, its employees, its
10    subcontractors, lower-tier subcontractors or the employees of its subcontractors or
11    lower-tier subcontractors performed work, including any records that provide the
12    names, addresses, Social Security numbers, job classification or the number of hours
13    worked by any one or more employee;
14
15                A.2. All of the Employer’s job files for each contract, project or job on
16    which the Employer, its employees, its subcontractors, its lower-tier subcontractors
17    or the employees of its subcontractors or lower-tier subcontractors worked, including
18    but not limited to all correspondence, agreements and contracts between the
19    Employer and any general contractor, subcontractor, owner, builder or developer, as
20    well as all field records, job records, notices, project logs, supervisors' diaries and
21    notes, employees' diaries and notes, memoranda, releases and any other records that
22    relate to the supervision of the Employer’s employees, its subcontractors, its lower-
23    tier subcontractors or the employees of its subcontractors and lower-tier
24    subcontractors, or the projects on which the Employer, its employees, its
25    subcontractors, its lower-tier subcontractors or the employees of its subcontractors or
26    lower-tier subcontractors performed work;
27
28                A.3. All of the Employer’s records related to cash receipts, including

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 1    but not limited to the Employer’s cash receipts journals, accounts receivable
 2    journals, accounts receivable subsidiary ledgers and billing invoices for all contracts,
 3    projects and jobs on which the Employer, its employees, its subcontractors, its
 4    lower-tier subcontractors or the employees of its subcontractors or lower-tier
 5    subcontractors performed work;
 6
 7                   A.4. All of the Employer’s bank statements, including but not limited
 8    to those for all checking, savings and investment accounts;
 9
10                   A.5. All of the Employer’s records related to disbursements, including
11    but not limited to vendors' invoices, cash disbursement journals, accounts payable
12    journals, check registers and all other records which indicate disbursements;
13
14                   A.6. All collective bargaining agreements between the Employer and
15    any trade union, and all records of contributions by the Employer to any trade union
16    trust fund; and
17
18                   A.7. All records related to the formation, licensing, renewal or
19    operation of the Employer.
20
21              B.   For reasonable attorneys’ fees and costs of suit, as required by the
22    Agreements and provided for under 29 U.S.C. § 1132(g)(1) and/or 1132(g)(2).
23
24              C.   For such other relief that this Court deems appropriate, pursuant to any
25    authority of the Court, including but not limited to the authority established by
26    29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3).
27    ///
28    ///

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 1                              ON ADMINCO'S FIFTH CLAIM FOR RELIEF
 2                   [Against the Employer for Injunctive Relief Compelling Submission of
 3                         Fringe Benefit Contributions to Employee Benefit Plans]
 4
 5              A.     For the issuance of injunctive relief pursuant to the Agreements and
 6    29 U.S.C. §§ 1132(g)(2)(E) and/or 1132(a)(3) ordering the Employer and its
 7    managing officers, managing employees, agents and successors, as well as all those
 8    in active concert or participation with any one or more of them, to deliver, or cause
 9    to be delivered to the Trust Funds:
10
11                     A.1. All past due monthly fringe benefit contribution report forms due
12    by the Employer to the Trust Funds, fully completed to indicate hours of work
13    performed by the Employer’s employees for which fringe benefit contributions are
14    due by the Employer and the corresponding amounts of fringe benefit contributions
15    due by the Employer to the Trust Funds, if any, or, if no such hours of work were
16    performed for a given month, an indication on the report form of that fact.
17
18                     A.2. No later than 4:30 p.m. on the 15th day of each month for the
19    duration of the Agreements:
20
21                           A.2(a). Truthfully and accurately completed Monthly Report(s)
22    covering all of the Employer’s accounts with the Trust Funds, collectively
23    identifying all persons for whom Monthly Contributions are owed to the Trust Funds
24    for the previous month and their Social Security numbers, and, itemized by person
25    and project, the hours of work performed for which Monthly Contributions are due;
26
27                           A.2(b). An affidavit or declaration from a managing officer or
28    other managing agent of the Employer attesting under penalty of perjury to the

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 1    completeness, truthfulness and accuracy of each Monthly Report submitted; and
 2
 3                         A.2(c). A cashier's check or checks made payable to the
 4    "Construction Laborers Trust Funds for Southern California" totaling the full amount
 5    of Monthly Contributions due to the Trust Funds for the previous month.
 6
 7              B.   For reasonable attorneys’ fees and costs of suit, as required by the
 8    Agreements and provided for under 29 U.S.C. § 1132(g)(1) and/or 1132(g)(2).
 9
10              C.   For such other relief that this Court deems appropriate, pursuant to any
11    authority of the Court, including but not limited to the authority established by
12    29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3).
13
14    DATED: December 28, 2021                 REICH, ADELL & CVITAN
                                               A Professional Law Corporation
15
16                                             By:           /s/ Peter A. Hutchinson
                                                          PETER A. HUTCHINSON
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                                                           Attorneys for Plaintiff
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